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                         UNITED STATES BANKRUPTCY COURT                           B2600 (rev 01/2013)
                               Southern District of Indiana
                                46 E. Ohio St., Rm. 116
                                 Indianapolis, IN 46204
In re:

Hugh Lawrence Brooks,                                   Case No. 09−02012−JMC−11
Tammie Latheres Sims−Brooks,
           Debtors.
                                                        Adv. Proc. No. 18−50350
Hugh Lawrence Brooks,
Tammie Sims−Brooks,
           Plaintiffs,
   vs.
Coronado Student Loan Trust,
           Defendant.

                                   ENTRY OF DEFAULT

It appears from the record that Coronado Student Loan Trust failed to plead or otherwise
defend in this case as required by law.

Therefore, default is entered against Coronado Student Loan Trust as authorized by
Fed.R.Bankr.P. 7055.

                                               /s/ Kevin P. Dempsey
                                               Clerk, U.S. Bankruptcy Court




Dated: March 19, 2019
